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                    UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK


NIKE, INC.,                                    Civil Action No.: 1:22-cv-00983-VEC
                       Plaintiff,              ORAL ARGUMENT REQUESTED
      v.

STOCKX LLC,
                       Defendant.



              NIKE, INC.’S REPLY IN SUPPORT OF ITS MOTION
                   FOR PARTIAL SUMMARY JUDGMENT
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I.         INTRODUCTION

           StockX’s Opposition made ruling on Nike’s Motion considerably easier. StockX concedes

liability for counterfeiting with respect to 34 pairs of “Nike” and “Jordan” branded footwear sold

on and distributed by StockX. Dkt. 268 at 10. That concession also establishes the falsity of

StockX’s Authenticity Claims, 1 as StockX cannot credibly assert that, inter alia, its “100%

Authentic” claim is true while also admitting that it sold counterfeit footwear.

           StockX’s argument that Nike merely discovered 77 physical counterfeit pairs (which it

liberally construes as a “handful”) does nothing to avoid judgment in Nike’s favor on

counterfeiting and false advertising and is appalling coming from a platform that promises

consumers to shop with “complete confidence” “every time” and that “nothing slips through the

cracks.” Dkt. 268 at 9; Consolidated Rule 56.1 Statement (“SMF”) ¶ 64. The record establishes

that these fake pairs, all of which Nike physically inspected, are far from the complete story. As

Nike explained in opening, although its Motion focuses on these 77 pairs, Dkt. 259 at 10, n.6,

discovery revealed far more counterfeits sold on the StockX platform, including by a fraud ring

that got away with selling over 1800 products before it was stopped, and that StockX has no idea

how many counterfeit “Nike” shoes it “authenticated” and shipped to consumers. SMF ¶¶ 90-91,

203-207. Despite StockX’s efforts to downplay the seriousness of its deeply flawed authentication

and deceptive advertising practices, its reckless disregard of the obvious risk that it sold—and even

encouraged the resale of—suspected counterfeits paints a clear picture of willful counterfeiting

and false advertising.

II.        ARGUMENT

           A.      StockX Admitted Counterfeiting Liability.



1
    The defined term “Authenticity Claims” has the same meaning as Nike’s Motion. Dkt. 255 at 4.


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         StockX does not dispute the validity of Nike’s trademarks. Dkt. 268 at 9-12; SMF ¶¶ 12-

14. Nor does it dispute that the 77 counterfeit pairs bearing those marks asserted in Nike’s Motion

are likely to cause confusion or that it offered for sale, “authenticated,” and distributed the 77

counterfeit pairs bearing those marks to consumers—and concedes liability for 34 of the pairs and,

thus, nine of the asserted registered marks. Id., Dkt. 268 at 9-12. As StockX failed to raise any

arguments on these points, judgment should be entered for counterfeiting on nine of the asserted

registered marks.2 Phoenix Light SF Ltd. v. U.S. Bank Nat’l Ass’n, 2020 WL 4699043, at *4

(S.D.N.Y. Aug. 12, 2020), aff’d, 2021 WL 4515256 (2d Cir. Oct. 4, 2021) (collecting cases).

StockX raises two arguments concerning the remaining counterfeits (which include one additional

registration): (1) Nike cannot show a perfect chain of custody for 40 of the admitted counterfeits,

and (2) that 3 fake pairs “have no connection to U.S. commerce.” Both arguments fail.

     1. Nike met its burden to show chain of custody of the disputed counterfeit products.

         Nike produced3 receipts showing that Pairs 38-77 were purchased from StockX (“Zadeh

Pairs”). Dkt. 260-1 ¶¶ 38-77 (StockX’s Responses to Nike’s Requests for Admission concerning

these shoes). StockX admits that each of the Zadeh Pairs had a genuine StockX receipt in the box

containing corresponding information to the Zadeh Pair in that box. Id.; Response to SOF ¶ 363.

For example, Pair 38 is a counterfeit Jordan 11 Retro Cool Grey (2021), U.S. Men’s Size 9.5,

whose box contained a genuine StockX receipt that corresponds to that Jordan 11 Retro Cool Grey

(2021), U.S. Men’s Size 9.5. Dkt. 260-1 ¶ 38; Dkt. 261-114 at Supp. Resps. 288-89. Nike’s

Appendix likewise identifies the chain of custody evidence for the Zadeh Pairs.




2
  StockX also does not raise any of its affirmative defenses with respect to counterfeiting or false advertising in Nike’s
Motion, and therefore waives them. Windward Bora LLC v. Lungen, 2023 WL 9100340, at *3 (S.D.N.Y. Aug. 29,
2023), R&R adopted, 2023 WL 8600699 (S.D.N.Y. Dec. 12, 2023).
3
  StockX relies on certain criminal allegations against Mr. Malekzadeh and his invocation of the Fifth Amendment to
suggest that evidence is unreliable or tainted. Fed. R. Evid. 404 prohibits such an inference.


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       “[S]ummary judgment on liability on trademark infringement claims based on evidence of

counterfeit merchandise is appropriate where the nonmoving party fails to offer any evidence

contradicting the moving party’s factual accounting of the chain of custody.”             Chloe v.

DesignerImports.com USA, Inc., 2009 WL 1227927, at *7 (S.D.N.Y. Apr. 30, 2009). Such is the

case here, with StockX claiming only that “Mr. Malekzadeh did not maintain records documenting

the chain of custody of his inventory, nor did he keep track of how he procured sneakers.” Dkt.

268 at 10-11. StockX cannot explain why shoes found with StockX receipts in the box, often

bearing a StockX tag, and in the custody of its largest buyer is somehow insufficient to establish

chain of custody. See generally Dkt. 268; SMF ¶¶ 197-202. It does not dispute Ms. Rizza’s

testimony that she identified those receipts and photographed them. SMF ¶¶ 200-202; Response

to SMF ¶ 363. Instead, it hypothesizes that the StockX tags on the Zadeh Pairs could have been

counterfeit. Dkt. 268 at 11 n.14. This speculation does not raise a triable issue over these

indisputably counterfeit goods. Gucci America, Inc. v. Duty Free Apparel, Ltd., 286 F. Supp. 2d

284, 289 (S.D.N.Y. 2003).

    2. Pairs 1-3 are within the Lanham Act’s territorial scope.

    StockX’s argument that Pairs 1-3 have no connection to U.S. commerce is immaterial and

factually incorrect. Abitron Austria GmbH v. Hetronic Int’l, Inc., held that “if all the conduct”

was extraterritorial, then “there would be no domestic conduct that could be relevant to any focus.”

600 U.S. 412, 443 (2023) (emphasis added). On remand, the Tenth Circuit found that the conduct

at issue involved a “foreign entity” making “foreign sales to foreign customers.” Hetronic Int’l,

Inc. v. Hetronic Germany GmbH, 99 F.4th 1150, 1157, 1166 (10th Cir. 2024). That is not the case

here, where Pairs 1-3 were sold by StockX LLC, a U.S. company, purchased from StockX’s U.S.

website, shipped from StockX with receipts in U.S. dollars,

                            . Dkt. 261-1; Dkts. 271-80–271-82; Dkts. 262-1, 262-3, 262-5. The


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tether to U.S. commerce for Pairs 1-3 is thus more than secure.4

         B.        StockX is Liable for False Advertising.

              1.   StockX’s Authenticity Claims are literally false.

         Nike established in its Motion that StockX’s Authenticity Claims are literally false. Dkt.

259 at 14-17; Dkt. 270 at 11-19. StockX bludgeoned consumers with unambiguous claims that

every product sold on StockX was “100% Authentic,” “100% Verified Authentic,” “Guaranteed

Authentic,” “Always Verified Authentic.” “Guaranteed Authenticity. Every item. Every time.5”

and “Always Authentic. Never Fake.” SMF ¶¶ 57-65. As an admitted distributor of fake “Nike”

goods, StockX cannot dispute that its Authenticity Claims are literally false. StockX thus tries to

inject ambiguity into its unambiguous Authenticity Claims, claiming that they could mean that

StockX “believed” the inspected products were 100% authentic, and “guaranteed a refund if a

customer did not receive an authentic product.” Dkt. 268 at 17. The Court should “rely on its own

common sense and logic,” to interpret the Authenticity Claims and reject StockX’s effort to create

ambiguity. Hertz Corp. v. Avis, Inc., 867 F. Supp. 208, 212 (S.D.N.Y. 1994); Dkt. 268 at 17, 19.

         Moreover, while StockX pays lip service to the requirement that the claims be read in

context,6 Dkt. 259 at 14-15; Dkt. 270 at 11-14; Dkt. 268 at 18, it ignores that context in favor of

injecting new words into the advertising and inventing a fictional refund policy.7 Dkt. 268 at 17-


4
  Even if Pairs 1-3 are not part of the full tally of counterfeits for liability, they nevertheless evidence willfulness.
5
  StockX cannot rely on the dictionary definition of “guarantee” as the Second Circuit expressly disapproved of this
approach. See Int’l Code Council, Inc. v. UpCodes Inc., 43 F.4th 46, 62 (2d Cir. 2022) (“ICC”) (the phrase “always
up-to-date” could not be broken into “always” and “up-to-date” because the “treatment of a specific word is of little
help unless that word is used in a sufficiently similar context”). Defining “guarantee” alone sheds no light on StockX’s
specific use which guaranteed authenticity of “Every item. Every time.” SMF ¶ 63; Dkt. 268 at 8 n.6.
6
  Contrary to StockX’s claims that Nike “selects six phrases, presents them in isolation, and asserts they
unambiguously promise counterfeits are never sold on StockX’s platform,” Dkt. 268 at 19, Nike identified the specific
claims and attached full page screenshots for context. SMF ¶¶ 57-65, Duvdevani Exs. 50-52, 54-56.
7
  StockX relies on three screenshots to argue that “it would be entirely reasonable for a juror to conclude that StockX’s
Authenticity Claims accurately communicate that StockX (1) inspects every product traded through the platform; (2)
allows only products StockX believes are “100% Authentic” to trade; and (3) “guarantees” consumers a refund if a
product is not in fact authentic.” Dkt. 268 at 19. StockX ignores that each of those has a FAQ admitting StockX does



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19; SMF ¶¶ 100-102. None of the Authenticity Claims state that “StockX believes” the product is

authentic, SMF ¶¶ 57-65, and the only reference to a “return policy” on the Authentication Page

states “Due to the anonymous nature of our live marketplace, we are unable to offer return,

exchanges…” Dkt. 261-50 at 46. The Authenticity Claims unambiguously state StockX’s false

promise—consumers can “Shop on StockX with complete confidence knowing every purchase is

100% Verified Authentic.” “Every item. Every time.” Dkt. 270 at 11-14. In relevant context,

Dkt. 259 at 14-15, these claims are literally false, as StockX admits that its authenticators cannot

determine authenticity and it sold fake goods. SMF ¶¶ 688-689.

                 2.       StockX’s Authenticity Claims are material.

        A claim is material when it “involved an inherent or material quality of the product.” Dkt.

270 at 19 (quoting ICC, 43 F.4th at 56 (quoting Apotex Inc. v. Acorda Therapeutics, Inc., 823 F.3d

51, 63 (2d Cir. 2016) (quoting Time Warner Cable, Inc. v. DIRECTV, Inc., 497 F.3d 144, 153 n.3.

(2d Cir. 2007))); Dkt. 255 at 17-18. There is no genuine dispute that Authenticity Claims concern

a product’s “inherent or material quality.” See, e.g., Unlimited Cellular, Inc. v. Red Points Sols.

SL, 677 F. Supp. 3d 186, 202 (S.D.N.Y. 2023) (“materiality” alleged where “misrepresentations

concern exactly this capacity to differentiate a real product from a fake one”); Dkt. 270 at 20-22.

So, StockX relies on a flawed legal argument that “inherent quality or characteristic” and “likely

to influence purchasing decisions” are distinct sub-elements of materiality. Compare Dkt. 255 at

16, with Dkt. 268 at 22; Dkt. 270 at 20-22. They are not. Where a claim relates to a product’s

inherent quality, it is material, as the most recent Circuit decision, ignored by StockX, clearly




not offer returns. Dkt. 261-50 at 46; Dkt. 261-57 at NIKE0006789; Dkt. 261-58 at NIKE0000285. StockX’s Terms
& Conditions are not advertising and are not part of the context of the advertising. And, StockX routinely refused to
issue refunds for suspected counterfeits. SMF ¶¶ 104-111. None of the screenshots suggest to consumers that StockX
only permits sales of products “StockX believe are” authentic. COF ¶¶ 688-689.


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states. ICC, 43 F.4th at 64 n.10.8

          Regardless, StockX’s convoluted argument that authenticity is not likely to influence

purchasing is neither credible nor factually supported. Dkt. 268 at 22-25. Other than in briefing

to this Court, StockX maintains to this day9 that authenticity is a core value proposition, SMF ¶¶

719-746; Dkt. 270 at 4-6, which is why StockX plastered its false claims on every product landing

page, its Authenticity Page, on its blog and on social media. SMF ¶¶ 54-65. Desperate to refute

the obvious proposition that authenticity is material, StockX relies on incomplete and/or

inadmissible evidence. Dkt. 268 at 24-25. First, StockX improperly relies on Sarah Butler, an

expert disclosed by StockX to rebut damage opinions offered by Nike’s expert John Hansen. Infra

II.B.2.    Far from showing that authenticity is immaterial, Ms. Butler’s report shows that

authenticity is a likely purchase driver for consumers: nearly a quarter of respondents indicated

that their interest in StockX was due to authentication, guarantees, or trusting StockX. Id. ¶¶ 616-

618; see also Leatherman Tool Grp., Inc. v. Coast Cutlery Co., 823 F. Supp. 2d 1150, 1156 (D.

Or. 2011) (materiality supported in part by survey showing 17% of respondents “greatly

influenced” by inherent qualities – type of steel and hardness - of knife product). StockX also

relies on Mr. Kim’s testimony but omits his adjacent testimony that “authentication” is key to

selecting a collectible sneaker platform. SMF ¶ 746. Indeed, StockX’s non-litigation surveys

show that its customers care deeply about “knowing the good is certified as authentic.” Dkt. 261-

77 at STX0018465. StockX’s arguments are indicative of its legal error that Nike must establish


8
  StockX misleadingly quotes Rosenshine v. A. Meshi Cosms. Indus. Ltd., 2023 WL 6516994, at *8 (E.D.N.Y. Oct. 4,
2023) to suggest plaintiff must separately show that the representation “was likely to influence purchasing decisions.”
Dkt. 268 at 22-23. Rosenshine states: “to maintain a claim for false advertising, in addition to falsity, the plaintiff
must also plausibly allege materiality, i.e., ‘that the false or misleading representation involved an inherent or material
quality of the product.’” (quoting ICC, 43 F.4th at 56 (quoting Apotex, 823 F.3d at 63)).
9
  Just this week, StockX’s CEO, in an interview regarding StockX’s recent partnership with Walmart, stated that when
looking at what it takes to deliver a marketplace experience for collectibles like sneakers, “one of the most important
things is your ability to actually verify the product that’s being delivered to the consumers.”                        See
https://www.cnbc.com/video/2024/09/16/stockx-ceo-scott-cutler-talks-walmart-partnership.html.


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that the Authenticity Claims are the only driver of purchasing decisions, as opposed to one likely

driver. See ICC, 43 F.4th at 56; Newborn Bros. Co. v. Albion Eng’g Co., 481 F. Supp. 3d 312, 358

(D.N.J. 2020). This is not the standard and StockX’s arguments fail. Dkt. 259 at 17-19.10

        In addition, StockX’s claim that it “proactively presented evidence” that the Authenticity

Claims were not likely to influence purchasing is incorrect.11 Dkt. 268 at 24. StockX’s “proactive”

evidence comes in the form of its rebuttal expert’s opinion to Nike’s damages expert. SMF ¶¶

776-777. StockX cannot convert its rebuttal damages survey into an affirmative materiality

opinion. Dkt. 270 at 22-24; SMF ¶¶ 776-778. Nike’s Motion seeks judgment on liability and does

not rely on Mr. Hansen’s opinions; rebuttal experts “may not testify as part of a party’s case-in-

chief, and cannot testify unless and until the testimony they were designated to rebut is given at

trial.” In re Navidea Biopharmaceuticals Lit., 2022 WL 16833587, at *13 n.21 (S.D.N.Y. Nov. 9,

2022). The Court should not consider Ms. Butler’s opinions in connection with Nike’s Motion.

        Next, StockX’s argument that third-party platforms also make authenticity claims (Dkt.

268 at 25) is irrelevant to the materiality analysis, and only underscores the importance of

authenticity to consumers. StockX does not offer evidence that would allow the Court to evaluate

the impact of the third-party advertising, including whether the third parties have effective

authentication practices, or whether the advertising claims are even true. SMF ¶¶ 504-521.12

          3.     StockX’s false Authenticity Claims cause likely and actual injury to Nike.

        StockX recites the wrong injury standard for false advertising (Dkt. 268 at 26), ignoring



10
   StockX improperly relies on “sneakerhead” expert, DeJongh Wells, and Mr. Kim’s personal opinions as
representative of consumers. Dkt. 268 at 25. It presents no evidence that “sneakerheads” or Mr. Kim’s experience
are representative, and therefore should not be considered. See Jewish Sephardic Yellow Pages, Ltd. v. DAG Media,
Inc., 478 F. Supp. 2d 340, 370-71 (E.D.N.Y. 2007); SMF ¶¶ 406, 773 (StockX consumers consist of ordinary
consumers, including “track” moms.)
11
   StockX also refers to Ms. Butler’s survey as a “consumer perception survey,” which Ms. Butler admitted it was not.
12
   Moreover, StockX’s arguments concerning third-party advertising is inadmissible hearsay and has no bearing here.
SMF ¶¶ 510-521; Unicorn Crowdfunding, Inc. v. New St. Enter., Inc., 507 F. Supp. 3d 547, 571 (S.D.N.Y. 2020).


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that likely injury is sufficient at the liability stage. Church & Dwight Co. v. SPD Swiss Precision

Diagnostics, GmBH, 843 F.3d 48, 65 (2d Cir. 2016); Souza v. Exotic Island Enterprises, Inc., 68

F.4th 99, 118 (2d Cir. 2023); (Dkt. 259 at 19-22.). StockX grossly misreads Lexmark Int’l, Inc. v.

Static Control Components, Inc., claiming that the Supreme Court held that “plaintiff must prove

actual injury” and, in so doing, overruled the Church & Dwight’s “actual or likely” standard.13

Dkt. 268 at 26-27. Lexmark found that cognizable injuries are those that “show economic or

reputational injury flowing directly from the deception wrought by the defendant’s advertising,”

the very injuries that Nike established. 572 U.S. 118 129, 133, 140 (2014); Dkt. 270 at 24-30.

         In fact, in Souza, the Circuit considered Lexmark’s impact on its holdings, concluding that

“far from undermining our precedent, Lexmark reinforces it.” 68 F.4th at 119; cf. 15 U.S.C. §

1125(a)(1)(B).14 Lexmark—a case about non-competitor standing—confirms that actual or likely

injury must be “a commercial interest in reputation or sales” that falls within the “zone of interest”

to trigger the Act’s protection. 572 U.S. at 131-32. Nike has no standing issue in asserting that

StockX’s claims cause it harm, and, indeed, as an “obvious” StockX competitor, Nike is both

entitled to a presumption of actual injury and has adduced evidence of actual injury. Dkt. 259 at

19-22; Dkt. 270 at 24-30; Merck Eprova AG v. Brookstone Pharms., LLC, 920 F. Supp. 2d 404,

417 (S.D.N.Y. 2013); Merck Eprova AG v. Gnosis S.p.A., 760 F.3d 247, 259-61 (2d Cir. 2014).

Nike also more than met its “likely” injury burden by offering actual evidence of injury, including:

(1) diverted sales where “[a] consumer interested in buying [certain genuine Nike] products could

purchase the products now through StockX’s pre-release listing and not directly through Nike,”




13
   StockX argues that regardless of the appropriate standard, the “likely to be damaged” standard is limited to claims
for injunctive relief. Dkt. 268 at 26. Although StockX is wrong, this issue is irrelevant because Nike only seeks
summary judgment on liability. Dkt. 254; Souza, 68 F.4th at 118.
14
   StockX’s claim that the Second Circuit’s decision in Church & Dwight is “not good law” is remarkable given that
Souza (a post-Lexmark decision) relies on Church & Dwight for the injury standard.


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(Dkt. 270 at 28-29; Dkt. 259 at 21-22) and (2) significant reputational injury. Dkt. 259 at 20-21;

Dkt. 270 at 29-30. Nike’s reputation faces obvious injury when consumers seek to return low

quality, purportedly genuine “Nike” footwear purchased on StockX, raise concerns about likely

counterfeit “Nike” branded footwear purchased on StockX, and contact Nike to complain about

Nike sneakers purchased on StockX that turn out to be counterfeit. SMF ¶¶ 69, 104-111, 232-238.

StockX compounds this injury by blaming Nike for fakes under the guise of “manufacturing

errors.” Dkt. 259 at 20-21; Dkt. 270 at 29-30. In sum, summary judgment is warranted on Nike’s

false advertising claim.

       C.      StockX’s Conduct is Willful.

       Via at least its reckless disregard or willful blindness, StockX’s conduct is willful. Dkt.

259 at 22-25. It knew that it sold hundreds of counterfeits before Nike filed this action and it

admits liability for counterfeiting for at least 34 counterfeits. SMF ¶¶ 90-91, ¶¶ 104-111, 162-167,

193-196, 208-212; Dkt. 268 at 10. This alone renders StockX’s counterfeiting willful. See Fendi

Adele S.R.L. v. Burlington Coat Factory Warehouse Corp., 689 F. Supp. 2d 585, 600 (S.D.N.Y.

2010), amended (Mar. 23, 2010); Dkt. 255 at 22-23. Ample undisputed record evidence supports

that StockX “recklessly disregards the possibility” that it routinely sells counterfeits. Chanel, Inc.

v. Gardner, 2010 WL 11713301, at *5 (S.D.N.Y. Apr. 6, 2010), R&R adopted, 2011 WL 204911

(S.D.N.Y. Jan. 21, 2011).      StockX’s argument that it “Epitomizes Good Faith” is deeply

undermined by its reference to hundreds of admitted counterfeits as a “tiny number.” SMF ¶¶ 90-

91, 203-206; Dkt. 268 at 10. StockX’s policies and practices foster counterfeiting. Despite its

protestations, it had no return policy prior to the commencement of this litigation, SMF ¶¶ 100-

103, and encouraged dissatisfied buyers to resell the products on StockX (incurring an additional

seller fee). SMF ¶¶ 104-111, 699. StockX wears no halo and is no hero: the products it did reject




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as fakes were returned to the counterfeiters to try again, and StockX repeatedly encouraged

customers to sell those suspected fakes back on StockX rather than accepting returns. SMF ¶¶

100-111, 116, 118, 130-141. StockX cannot plausibly argue that it did not recklessly disregard

the possibility that doing so encouraged the further sale of fakes.

         StockX is built to obscure counterfeiters’ identities and does not attempt to obtain

information about where sellers obtain product. SMF ¶¶ 120-129. It prioritizes seller relationships

so much that its practices include sending the seller back footwear that it identifies as fake and

divulging why it did, teaching counterfeiters how to improve their efforts. SMF ¶¶ 116-118; Dkt.

261-85                                                                                            .

StockX also fails to enforce its so-called policy of immediately suspending for attempting to sell

inauthentic product, SMF ¶ 438, and instead



                                        Id.

         StockX’s Authenticity Claims were likewise knowingly false, as it admitted its

authenticators cannot determine if a product is authentic. SMF ¶¶ 54, 57-65, 97-99. StockX also

admits that it knew it was passing counterfeit footwear, SMF ¶¶ 90-91, 125-129, 138-141, 198,

and had no idea what percentage of fakes were making it through authentication and into

consumers’ hands. SMF ¶¶ 92, 100-111. StockX’s admitted counterfeiting and false advertising

is admittedly willful as well.

III.     CONCLUSION

         For the foregoing reasons, the Court should grant Nike’s Motion.




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